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IN THE UNITED STATES DlSTRlCT COURT
FOR THE SOUTHERN DlSTRICT OF TEXAS

HOUSTON DIVISION

NORA SOTO GUTIERREZ, §

§

Plaintiff, §

§

V. §
§ CIVIL ACTION NO. H-07-017l

SUSAN EISNER HIATT, §

SYLVIA R. GARCIA, and §

PATRICE BARRON, §

§

Defendants. §

ORDER DENYING PLAINTIFF’S F.R.C.P. 601b) MOTION FOR RELIEF FROM
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CAME ON TO BE CONSIDERED Plaintiff Nora Soto Gutierrez’s F.R.C.P. Motion For
Relief Frorn Judgment Or Order (Dkt. #36). The Court, having considered the motion, the
responses, if any, the pleadings on file herein, and the applicable law, finds that said motion is
neither meritorious nor Well-taken.

Accordingly, Plaintiff Nora Soto Gutierrez’s F.R.C.P. Motion F or Relief From Judgment

Or Order (Dl<t. #36) is hereby DENIED.

11 is so ORDERED. §©A/V
Signed on this the day of :X:(Z l€O')M ) , 2007.
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VAN SA D. GILMORE
UNITED STATES DISTRICT JUDGE

